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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

STEPHEN W. VALDEZ                                                                PLAINTIFF

 VERSUS                                       CIVIL ACTION NO.: 2:22-cv-2267-TLP-cgc
                                                            JURY TRIAL DEMANDED

FEDERAL EXPRESS CORPORATION                                                   DEFENDANT


      JOINT MOTION FOR 7 DAY EXTENSION OF THE ALTERNATIVE DISPUTE

                                RESOLUTION DEADLINE

      The Parties in this matter join in this Motion for a 7-Day Extension of the Alternative

Dispute Resolution (ADR) Deadline. The Parties have exchanged Electronically Stored

Information, written discovery, produced documents, propounded a draft of the 30(b)(6)

notice, and taken the Plaintiff’s deposition. Pursuant to Text Order, the deadline for

submitting a report on ADR is July 10, 2023. [Doc. 36] Mediation is set for July 11, 2023,

at 10AM CST. The Parties respectfully request this Honorable Court to allow a seven (7)

day extension to file the report on ADR deadline, extending the deadline to July 17, 2023.

Moving the ADR deadline to July 17, 2023, allows the Mediator and the Parties time to

complete mediation and the Mediator to submit his report.

      Federal Rule of Civil Procedure 16 “permits modification to the scheduling order

‘upon a showing of good cause and by leave of the district judge.’” Leary v. Daeschner,

349 F.3d 888, 906 (6th Cir. 2003). “The primary measure of Rule 16's ‘good cause’ standard




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is the moving party's diligence in attempting to meet the case management order's

requirements.” Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002).

        This Motion is not made in an attempt to delay this matter and is made in good

faith. Based on the foregoing, the Parties represent to the Court that good cause exists

to extend the ADR deadline to July 17, 2023. Due to the nature of this motion, an

accompanying memorandum would be duplicative.

        The Parties respectfully request an order of this Court extending the ADR deadline

seven days to July 17, 2023.

        This, the 15th day of June, 2023.




 /s/ Tressa V. Johnson                           /s/ Frederick L. Douglas
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